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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


  In re: Oil Spill by the Oil Rig                         MDL No. 2179
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010
                                                          SECTION: J
  These Pleadings apply to: All Cases
                                                          JUDGE BARBIER
        (Including No. 12-970)
                                                          MAGISTRATE SUSHAN




                                          ORDER


      CONSIDERING Plaintiffs’ Ex Parte Motion for Interim Reimbursement of Shared

Expenses:

      IT IS ORDERED that Philip A. Garrett, C.P.A., be and is hereby authorized and directed to

arrange for the interim and interlocutory payment of shared cost reimbursements from the

Common Benefit Fee and Cost Fund established pursuant to Section 5.16 of the Economic and

Property Damages Class Settlement Agreement to Philip A. Garrett, CPA, in the amount of

$23,100.00.

      SIGNED at New Orleans, Louisiana, this ___ day of             , 2015.



                                                  _______________________________
                                                           Hon. Carl J. Barbier
